                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                            WESTERN DIVISION

 UNITED STATES OF AMERICA,
               Plaintiff,                                No. CR07-4011-MWB
 vs.                                                 ORDER ON MOTION FOR
                                                     SEVERANCE OF TRIALS
 TIMOTHY LEE WILSON and
 KEVIN J. McMULLIN,
               Defendants.
                                 ____________________


        On February 23, 2007, the defendants Timothy Lee Wilson and Kevin J. McMullin
were charged in a four-count Indictment with conspiracy to manufacture and distribute
methamphetamine, conspiracy to possess pseudoephedrine for the purpose of manu-
facturing methamphetamine, and possession of pseudoephedrine. (See Doc. No. 3) On
August 1, 2007, McMullin filed a motion to sever his trial from that of his codefendant.
(Doc. No. 34) On August 22, 2007, the plaintiff (the “Government”) filed a resistance to
the motion. (Doc. No. 40)
        McMullin argues codefendant Wilson made a statement to the Government
incriminating McMullin, and admission of Wilson’s statement at trial will prejudice
McMullin because he will not have the opportunity to cross-examine Wilson regarding the
statement. McMullin is protected from this type of prejudice by applicable law. The
United States Supreme Court has held that “where two defendants are tried jointly, the pre-
trial confession of one cannot be admitted against the other unless the confessing defendant
takes the stand.” Richardson v. Marsh, 481 U.S. 200, 206-07, 107 S. Ct. 1702, 1707, 95
L. Ed. 2d 176 (1987); accord United States v. Edwards, 159 F.3d 1117, 1124 (8th Cir.
1998) (quoting Richardson). This principle, originally recognized by the Court in Bruton




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v. United States, 391 U.S. 123, 88 S. Ct. 1620, 20 L. Ed. 2d 476 (1968), constitutes an
exception to the ordinary rule that “a witness whose testimony is introduced at a joint trial
is not considered to be a witness ‘against’ a defendant if the jury is instructed to consider
that testimony only against a codefendant.” Id.
        However, a codefendant’s confession or admission may be redacted in such a way
that it “does not facially incriminate or lead the jury directly to a nontestifying declarant’s
codefendant.” Edwards, 159 F.3d 1117, 1125 (citing United States v. Jones, 101 F.3d
1263, 1270 & n.5 (8th Cir. 1996); United States v. Williams, 936 F.2d 698, 700-01 (2d
Cir. 1991); United States v. Briscoe, 896 F.2d 1476, 1502 (7th Cir. 1990); United States
v. Garcia, 836 F.2d 385, 390-91 (8th Cir. 1987)). Furthermore, “the Bruton standard is
inapplicable when the confessing witness testifies and is available for cross-examination.”
United States v. Karam, 37 F.3d 1280, 1287 (8th Cir. 1994) (citing United States v. Coco,
926 F.2d 759, 761 (8th Cir. 1991)). Ultimately, the question of whether Wilson’s
statement will be admissible is an evidentiary issue to be decided by the court at the time
of trial.
        To warrant severance, McMullin must show he will suffer “real prejudice” from
a joint trial. United States v. Williams, 923 F.2d 76, 78 (8th Cir. 1991). This is a heavy
burden – and one that McMullin has failed to meet here.                See United States v.
Marin-Cifuentes, 866 F.2d 988, 994 (8th Cir. 1989).
        McMullin’s motion to sever is denied.
        IT IS SO ORDERED.
        DATED this 27th day of August, 2007.




                                           PAUL A. ZOSS
                                           CHIEF MAGISTRATE JUDGE
                                           UNITED STATES DISTRICT COURT


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